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21
                                UNITED STATES BANKRUPTCY COURT
22

23                                  FOR THE DISTRICT OF ARIZONA

24    In Re:                                             Chapter 11
25
      FLORENCE HOSPITAL AT                               Case No.: 4:13-bk-03201-BMW
26    ANTHEM, LLC,
                                                         MOTION TO STRIKE DEBTOR’S
27             Debtor.                                   UNTIMELY ARGUMENTS
28


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 1           Blue Wolf Capital Partners, III, L.P. (“Blue Wolf”) hereby files this motion (the “Motion”)
 2    requesting the Court strike the Debtor’s Untimely Defenses (defined below) and respectfully stating as
 3
      follows:
 4
                                                Jurisdiction and Venue
 5
             1.         This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and
 6

 7    1334. Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is

 8    proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

 9                                                    Background
10           2.         On March 24, 2015, Blue Wolf filed Administrative Expense Proof of Claim No. 76 in
11
      the amount of $693,157 (the “Blue Wolf Administrative Claim”). On September 4, 2015, the Debtor
12
      filed an objection to the Blue Wolf Administrative Claim [Dkt No. 1068] (the “Objection”). In the
13
      Objection, the Debtor asserts as its sole basis for objecting to the Blue Wolf Administrative Claim its
14

15    contention that Blue Wolf’s expenses were not reasonable and necessary for the preservation of the

16    Debtor’s estate.

17           3.         On September 22, 2015, Blue Wolf filed its Response to Objection of Debtor to Claim
18
      No. 76 Filed by Blue Wolf Capital Fund III, L.P. [Dkt No. 1105] (the “Response”).
19
             4.         On November 18, 2015, the Court entered its Stipulation to Treat Blue Wolf’s Proof of
20
      Claim, Objections and Responses Thereto, as Application for Order Allowing and Directing Payment of
21
      Administrative Expense Claim [Dkt No. 1233] deeming the Blue Wolf Administrative Claim to be an
22

23    application for administrative expense claim and converting the litigation surrounding the Blue Wolf

24    Administrative Claim into a contested matter.
25           5.         No amended or supplemental claim objection was ever filed by the Debtor.
26
             6.         On September 20, 2017—a mere four (4) business days before the trial on this matter and
27
      nearly one year to the day after Blue Wolf filed the Response—the Debtor and Blue Wolf filed a joint
28
      pretrial statement with the Court (the “Pre-Trial Statement”) [Dkt No. 1571].
                                                           2
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 1           7.          In the Pre-Trial Statement, for the first time, the Debtor raised the following alleged
 2    defenses to the Blue Wolf Administrative Claim (the “Untimely Defenses”):
 3
                  May Blue Wolf recover against the Debtor under theories of tort when it had entered
 4
                   into a contract with the Debtor?
 5
                   ...
 6

 7                If the Debtor is liable for negligent misrepresentation of its authority, to what extent

 8                 is Blue Wolf contributorily negligent?
 9                If Blue Wolf was damaged by the Debtor’s conduct, did that conduct constitute a
10
                   breach of contract for which recovery is limited?
11
      Pre-Trial Statement, at p. 24.
12
             8.          On September 26, 2017—less than 24 hours before this contested matter was set to be
13

14    heard—the Debtor filed a hearing brief (the “Debtor’s Hearing Brief”) [Dkt No. 1575], in which it

15    further expounded on the Untimely Defenses.

16           9.          Due to the Debtor’s action in waiting until the last possible minute to raise the Untimely
17
      Defenses, the Court should not consider the defenses and strike the portions of the Debtor’s Hearing
18
      Brief related to the same.
19
                                                      Relief Requested
20
             10.         Blue Wolf objects to the Debtor’s “trial by ambush” tactics and seeks entry of an order
21

22    barring the Untimely Defenses and providing that the Court will not consider new defenses that were

23    raised for the first time in the Pretrial Statement or the Debtor’s Hearing Brief.

24                                                    Basis for Relief
25
             11.         As a general matter, parties are required to act promptly to assert affirmative defenses
26
      rather than “lie behind a log” and ambush a plaintiff with an unexpected defense. Venters v. City of
27
      Delphi, 123 F.3d 956, 967-68 (7th Cir. 1997); see also FED. R. CIV. P 8(c) (“a party shall set forth
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                                                             3
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 1    affirmatively … contributory negligence … and any other matter constituting an avoidance or
 2    affirmative defense.”) (emphasis added). “[A] party, with limited exceptions, is required to raise every
 3
      defense in its first responsive pleading, and defenses not so raised are deemed waived.” Morrison v.
 4
      Mahoney, 399 F.3d 1042, 1046 (9th Cir. 2005) (emphasis added).
 5
             12.        In this regard, Bankruptcy Rule 3007(a) provides “[a]n objection to the allowance of a
 6

 7    claim shall be in writing and filed.” FED. R. BANKR. P. 3007(a). “A copy of the objection with notice

 8    of the hearing thereon shall be mailed or otherwise delivered to the claimant, the debtor or

 9    debtor in possession, and the trustee at least 30 days prior to the hearing.” Id.
10           13.        Based on the requirements set forth in Rule 3007, the filing of an amended
11
      objection—as the Debtor has attempted to do through the insertion of new legal theories in the Pre-
12
      Trial Statement—has been denied. In re Lawler, 75 B.R. 979, 982 (Bankr. N.D. Tex. 1987) aff’d, 106
13
      B.R. 943 (N.D. Tex. 1989) (denying amended objection to claimfiled shortly before the hearing based
14

15    on the violation of Bankruptcy Rule 3007 notice provisions); see also In re Ambassador Park Hotel.

16    Ltd., 61 B.R. 792, 798 (N.D. Tex. 1986) (finding eight days’ notice of a hearing on the debtor's
17    objection to the creditor’s claim was not adequate under Rule 3007); In re Lomas Fin. Corp., 212 B.R.
18
      46, 56 (Bankr. D. Del. 1997) (vacating order disallowing claim where, inter alia, debtor’s notice of
19
      objection “fell substantially short of the 30-day period [required by Rule 3007] and therefore was not in
20
      compliance with the Rule”); In re Owens, 67 B.R. 418, 421-23 (Bankr. E.D. Pa. 1986) (order
21

22    disallowing claim was reconsidered because, inter alia, the claim was disallowed less than 30 days

23    following service of debtor’s objection in violation of Rule 3007).

24           14.        As set forth in Collier on Bankruptcy, while the 30-day time period may be shortened,
25
      “the claimant should have an opportunity to be heard on notice of the defects in the claim.” 9 Collier
26
      on Bankruptcy ¶ 3007.01 (16th Ed. 2016).
27
             15.        Here, there is no reason for the Court to permit the Debtor to assert new objections to the
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                                                             4
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 1    Blue Wolf Administrative Claim through the assertion of contested legal issues in the Pre-Trial
 2    Statement. As such, the Untimely Defenses should be denied.
 3
                                                     Conclusion
 4
                WHEREFORE, Blue Wolf requests that the Court enter an order (i) striking the Untimely
 5    Defenses, (ii) providing that the Court will not consider the Untimely Defenses raised for the first time
 6    in the Pretrial Statement or the Debtor’s Hearing Brief, and (iii) granting such other relief as is just and
 7    proper.
 8
                Respectfully submitted this 28th day of September, 2017.
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 1                                      CERTIFICATE OF SERVICE
 2
      The foregoing document was e-filed on September 28, 2017 with the U.S. Bankruptcy Court and copies
 3
      served via e-mail the same day (or served via U.S. First-Class Mail, as indicated hereon.)
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